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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


  TECNIMONT S.P.A.,                       HONORABLE JEROME B. SIMANDLE

                    Plaintiff,
                                                 Civil Action No.
          v.                                   1:17-5167 (JBS/KMW)

  HOLTEC INTERNATIONAL,
                                                      OPINION
                    Defendant.


 APPEARANCES:

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 SIMANDLE, District Judge:


    I.     Introduction

         This case involves a business dispute between Plaintiff, an

 engineering, procurement, and commissioning contractor, and

 Defendant, a manufacturer of (inter alia) steam condensers. The

 parties entered into a contract for the purchase by Plaintiff of

 steam condensers manufactured by Defendant. After certain

 business disputes, described in more detail infra, Plaintiff


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 filed the instant suit, alleging defamation by Defendant to

 Plaintiff’s client and business partners.

       Presently before the Court is Defendant’s Motion to Dismiss

 [Docket Item 12]. The principal issue to be decided is whether

 the arbitration clause contained in the contract between the

 parties mandates the dismissal of this suit and a referral to

 arbitration in its stead. For the reasons described herein, the

 Court concludes that it does, and will grant Defendant’s Motion

 to as it relates to the Arbitration Clause, and will stay the

 case pending arbitration.



     II.   Background1

       Plaintiff Tecnimont S.p.A. is an engineering, procurement

 and commissioning contractor, based in Milan, Italy, that

 engaged in work on a project to build a large thermoelectric

 power plant in Punta Catalina, Dominican Republic (the “Power

 Plant”). [Docket Item 1 at 2.] Plaintiff’s client and the owner

 of the Power Plant is Corporación Dominicana de Empresas

 Eléctricas Estales [“CDEEE”). Id. at 5. On April 14, 2014,

 CDEEE, Plaintiff, and Plaintiff’s business partners,

 Constructora Norberto Odebrecht and Ingenieria Estrella, S.R.L.


 1 For purposes of the pending motion, the Court accepts as true
 the version of events set forth in the complaint, documents
 explicitly relied upon in the complaint, and matters of public
 record. See Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir. 2014).

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 (collectively the “Consortium”), executed an Engineering,

 Procurement and Construction Contract (the “EPC Contract”) that

 governs the design and construction of the Power Plant. Id.

 Plaintiff estimates that the value of the EPC Contract is worth

 hundreds of millions of dollars. Id. Pursuant to the EPC

 Contract, Plaintiff is responsible for the design, construction,

 and commissioning of two Steam Condensers for the Power Plant.

 Id.

       On October 29, 2014, Plaintiff placed an order (“Purchase

 Order”)[Docket Item 12-2] with Defendant, Holtec International,

 a manufacturer of heat transfer equipment, to purchase a pair of

 steam condensers (“Condensers”) for the Power Plant. [Docket

 Item 1 at 2.]

       Under the Purchase Order, Defendant was to deliver the

 first fully tested Condenser in October 2015 and the second in

 December 2015. Id. However, Defendant did not manufacture the

 Condensers. Instead, Defendant subcontracted the manufacture of

 the Condensers to Godrej, a firm located in Mumbai, India. Id.

 Godrej had never manufactured the steam condenser of the type

 required for the Power Plant, so Defendant was supposed to

 provide qualified, skilled personnel from the United States to

 supervise and assist Godrej during the manufacturing process.

 Id. Plaintiff asserts that delivery of the Condensers was

 significantly delayed due to problems with Defendant’s supply


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 chain and gross incompetence in connection with its

 subcontracting to Godrej. Id. at 6. Plaintiff alleges that as a

 result of Defendant’s gross incompetence, the first Condenser

 was not delivered until October 2016 – a year behind schedule.

 Id. Defendant tendered the second Condenser on November 2016.

 Id.

       Defendant asserts that the delay in tendering of the

 Condensers was due to a “Change Order.” The Purchase Order is

 governed by the General Purchase Conditions (“GPC”). [Docket

 Item 12-2 at 38.] Article 5.1 of the GPC confers the right on

 the Respondent (Plaintiff Tecnimont S.p.A.) to request the

 Claimant (Defendant Holtec International) implement changes with

 respect to any goods and/or works supplied under the Purchase

 Order. Article 5.2 of the GPC provides that in the event of such

 a change, an equitable adjustment to the relevant price and/or

 time of performance mutually satisfactory to both Parties shall

 be discussed and negotiated by the Parties. Article 5.2 of the

 GPC requires the Respondent Tecnimont S.p.A. to make any such

 change request in the form of a “Change Order.” [Docket Item 12-

 2 at 8.]

       Defendant asserts that on May 2015, Plaintiff requested an

 alteration of the design provided for under the Purchase Order.

 Id. Defendant states that Defendant notified Plaintiff that the

 request changes would jeopardize the agreed performance schedule


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 and that Plaintiff failed to submit a Change Order as required

 by Article 5.3 of the GPC. Id. Defendant argues that Plaintiff

 “attempted to shift responsibility for the delays” on to

 Defendant by asserting that Defendant’s management of the

 manufacturing process at Godrej was inadequate. Id. As a result

 of the dispute, Defendant alleges, Plaintiff has failed to

 comply with its obligations to settle four invoices issued by

 Defendant pursuant to the Purchase Order. Id.

      Article 33.1 of the GPC states that “Any dispute between

 the PARTIES in connection with or arising out of the PURCHASE

 ORDER which cannot be settled amicably shall be finally settled

 by means of the proceeding specified in the SPECIAL PURCHASE

 CONDITIONS[.]” [Docket Item 12-2 at 63.] Article 32 of the GPC

 states that “The PURCHASE ORDER shall be governed by and

 construed in accordance with the Laws of the Country specified

 in the [Special Purchase Conditions (‘SPC’)].” Id. Article 32 of

 the SPC states that the Purchase Order shall be governed by the

 Law of England and Wales. [Docket Item 12-2 at 76.]

      Article 33.1 (the “Arbitration Clause”) of the SPC provides

 as follows:

      Any question, dispute, or difference arising from or
      connected with the PURCHASE ORDER which cannot be
      settled in accordance amicable shall be finally
      settled by means of Arbitration in London.

 Id. (emphasis in original).



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        On October 11, 2016, the parties made an Amendment

 Agreement. Id. at 126. Within that agreement, Article 8 of

 Amendment No. 3 (“Claim Waiver”) provides in pertinent part:

 “With the exception of the remaining payment obligations of TCM

 and the remaining performance obligations of Holtec under the

 Purchase Order, the Parties hereby acknowledge and agree to

 release the other party from any and all claims, counterclaims,

 demands, rights or causes of action of any kind . . . ” Id. at

 128.

        On January 12, 2017, Defendant sent a letter to CDEEE,

 Plaintiff’s client. The letter was circulated to the Consortium.

 Id. The letter generally characterizes Plaintiff as difficult to

 work with and specifically refers to a “myriad of non-payment,

 contract amendment and change order issues” associated with

 working with Plaintiff on the delivery of the Steam Condensers.

 [Docket Item 1-1 at 2.]

        Upon receipt of the letter, various members of the

 Consortium have advised Plaintiff to resolve the situation with

 Defendant. [Docket Item 1-2; 1-3; 1-4.]

        In response to the letter, Plaintiff filed a Complaint and

 Demand for Jury Trial on July 14, 2017. [Docket Item 1 at 1.]2 In


 2 Defendant alleges that the Complaint in this matter was
 actually filed as “part of a groundless scheme by [Plaintiff] to
 avoid its contractual obligations to [Defendant], and to
 retaliate against [Defendant’s] efforts to require [Plaintiff]

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 connection with the letter Defendant sent to CDEEE, the

 complaint alleges tortious interference with contract, existing

 economic advantage, and prospective economic advantage; and

 defamation. Id. at 10-15. Specifically, Plaintiff asserts that

 it will have to expend time, money, and resources on an

 investigation and additional testing of the Condensers required

 by CDEEE in light of the letter. Id. at 8. Plaintiff also

 asserts damage to its reputation and its business relations with

 the Consortium. Id.

      In response to the Complaint, Defendant submitted a Notice

 of Motion to stay the case in favor of arbitration (and to

 dismiss pursuant to Fed. R. Civ. P. 12(b)(6)). [Docket Item 12.]

 This Motion is presently before the Court.

      In its Brief in support of the Motion, Defendant argues

 that Plaintiff’s complaint should be stayed in favor of

 arbitration; in the alternative, it argues that the complaint

 should be dismissed for failure to state a claim pursuant to

 Fed. R. Civ. P. 12(b)(6). Id. at 15. Defendant also argues that

 Defendant’s communications with CDEEE are privileged and thus,




 to honor such obligations. Indeed, [Plaintiff] files the
 Complaint only two days after [Defendant] appropriately
 initiated arbitration in London against [Plaintiff] for, among
 other things, failure to pay [Defendant] as the parties’
 contract requires.” [Docket Item 12-1 at 7.]

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 not defamatory under New Jersey’s qualified interest privilege.

 Id. at 24.

        In response [Docket Item 14], Plaintiff asserts primarily

 that the alleged defamatory statements fall outside the scope of

 the arbitration agreement. Id. at 12. Plaintiff also argues that

 the Claim Waiver and Arbitration Clause cited by Defendant are

 invalid due to the agreements being signed under economic

 duress. Plaintiff also argues that the Court should not consider

 Defendant’s supplemental exhibit (the Declaration of English Law

 (“Carroll Declaration” [Docket Item 12-3]) offered by

 Defendant’s counsel, Ben Carroll). Id. at 23. Plaintiff also

 argues that the application of the New Jersey Common Interest

 Privilege to this matter is inappropriate. [Docket Item 14 at

 25.]

        Defendant’s Reply [Docket Item 15] argues that the claims

 asserted in the complaint are properly subject to arbitration

 per the Arbitration Clause’s broad scope, that the Court should

 consider the Declaration, and that the common interest privilege

 should apply. Id. at 8, 12, 16.



    III. Standard of Review

        In the Third Circuit, when a party moves to compel

 arbitration based on the terms of an agreement, courts apply a

 two-tier standard of review. See Guidotti v. Legal Helpers, 716


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 F.3d 764 (3d Cir. 2013). Where it is apparent on the face of the

 complaint, or in documents relied upon in the complaint, that

 the claims at issue in the case are subject to arbitration, the

 case is considered under a motion to dismiss standard, Fed. R.

 Civ. P. 12(b)(6). Id. at 774-76. However, where the complaint

 does not establish on its face that the parties have agreed to

 arbitrate, or where the party opposing arbitration has come

 forward with reliable evidence that it did not intend to be

 bound by an arbitration agreement, then the parties are entitled

 to limited discovery on the question of arbitrability before a

 renewed motion to compel arbitration is decided on a summary

 judgment standard. Id.

      When considering a motion to dismiss a complaint for

 failure to state a claim, Fed. R. Civ. P. 12(b)(6), the Court

 must accept all well-pleaded allegations in the complaint as

 true and view them in the light most favorable to the non-moving

 party. A motion to dismiss may be granted only if the plaintiff

 has failed to set forth fair notice of what the claim is and the

 grounds upon which it rests that make such a claim plausible on

 its face. Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).

 Although Rule 8 does not require "detailed factual allegations,"

 it requires "more than an unadorned, the-defendant-unlawfully-

 harmed-me accusation." Ashcroft v. Iqbal, 556 U.S. 662, 678

 (2009) (citing Twombly, 550 U.S. at 555).


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    IV.   Analysis

          A. Scope of Arbitration Clause

       Defendant seeks to stay the case and compel arbitration.

 Neither party disputes their entry into a valid and enforceable

 arbitration agreement. However, Plaintiff asserts that its

 claims herein of Defendant’s alleged defamation and tortious

 interference with Plaintiff’s business relationships are not

 covered under the scope of the arbitration agreement.

       Under the Federal Arbitration Act (“FAA”) 9 U.S.C. §§ 1 et

 seq., courts are required to stay any action subject to a valid

 arbitration agreement and order arbitration. The Supreme Court

 has held that the FAA reflects "the national policy favoring

 arbitration agreements." Buckeye Check Cashing, Inc. v.

 Cardegna, 546 U.S. 440, 443 (2006).

       This court applies a two-step test in determining whether

 an arbitration clause is applicable: (1) whether a valid

 arbitration clause exists; and (2) whether the particular

 dispute falls within the scope of the arbitration

 agreement. Trippe Mfg. Co. v. Niles Audio Corp., 401 F.3d 529,

 532 (3d Cir. 2005). The Trippe court cited AT&T Technologies,

 Inc. v. Communications Workers of America, 475 U.S. 643, 650,

 (1986) in stating that “when determining both the existence and

 the scope of an arbitration agreement, there is a presumption in


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 favor of arbitrability.” “A court cannot force a litigant to

 submit to arbitration any dispute which he has not agreed so to

 submit.” Id. at 648. Furthermore, if the claims asserted fall

 outside the arbitration agreement, they are not subject to

 arbitration. Painewebber, Inc. v. Hofmann, 984 F.2d 1372, 1377

 (3d Cir. 1993).

       Here, there is no dispute as to the existence of an

 arbitration agreement set forth in Article 33.1 of the parties’

 SPC, as evidenced by both parties being signatories to it and

 neither party raising any disputes over the existence of the

 agreement. The most pressing question in consideration of

 Defendant’s motion to dismiss is the second Trippe factor,

 whether the particular disputes (defamation and tortious

 interference with business relations) fall within the scope of

 the arbitration agreement.

       The parties’ arbitration clause is set forth in broad

 language, as noted above, stating that “[a]ny question, dispute

 or difference arising from or connected with the PURCHASE ORDER

 which cannot be settled in accordance amicably shall be finally

 settled by means of Arbitration in London.” [Docket Item 12-A,

 at 2 (emphasis in original).]

       The Third Circuit has repeatedly given broad construction

 to phrases such as “arising under” and “arising out of.”

 Battaglia v. McKendry, 233 F.3d 720, 727 (3d Cir. 2000).


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 This broad construction applies because “the federal policy in

 favor of arbitration is ‘particularly applicable’ where

 the arbitration clause at issue is broad.” Id. at

 725. Considering the strong federal policy favoring arbitration,

 provisions such as the present one must be "generously

 construed" in favor of coverage. Mitsubishi Motors Corp. v.

 Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 625 (1985); AT&T,

 475 U.S. at 650 ("Doubts should be resolved in favor of

 coverage").

       Despite this, Plaintiff still argues that its claims for

 defamation and tortious interference do not fall within the

 scope of the parties’ agreement. [Docket Item 14 at 12.]

 Plaintiff argues, in substance, that the arbitration agreement

 was between Plaintiff and Defendant in connection with the

 purchase order for steam condensers; because its claims are

 based on Defendant’s “defamatory, and extra-contractual”

 statements made by Defendant to Plaintiff’s clients after the

 delivery of the condensers, the claims do not fall within the

 scope of the arbitration agreement. Id. at 15. Plaintiff goes on

 to argue that its claims “are not related to work [Defendant]

 performed under the contract” and that Plaintiff “did not, and

 would not have, agreed to arbitrate claims that arise after the

 Condensers were delivered and that do not relate to the

 contract.” Id.


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       Plaintiff does not, however, engage directly with the broad

 language of the arbitration clause, which by its explicit terms

 applies to all disputes “arising from or connected with” the

 purchase order.

       The crux of Plaintiff’s argument is that its claims are

 based on extra-contractual statements made by Defendant to a

 third-party (Plaintiff’s client and business partners) that is

 not party to the contract at issue. Plaintiff asserts that the

 line of cases cited in support of arbitration such as Buckeye,

 Trippe, Battaglia, and Mitsubishi, all concerned relatively

 standard disputes concerning arbitration agreements. That is,

 the disputes were between two signatories of an arbitration

 agreement about the construction, scope, or performance of the

 agreement. Those specific cases did not discuss the application

 of arbitration agreements to extra and/or post-contractual

 communications involving parties that are not party to the

 arbitration agreement or the transaction that the agreement is

 meant to cover. Nevertheless, this factual situation is not a

 novel one.

       This circuit has contemplated arbitration disputes similar

 to the present one. In Wood v. Prudential Ins. Co. of Am., 207

 F.3d 674 (3d Cir. 2000), the plaintiff sued his former employer

 for discrimination. The plaintiff was party to a valid

 arbitration agreement but sought to bring a claim of defamation


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 in relation to the defendant’s forwarding of plaintiff’s

 termination letter to the New Jersey Department of Insurance

 after the termination of his employment. Id. at 681. In

 affirming the District Court’s decision to compel arbitration

 and in recognition of the broad construction given to the

 arbitration agreement’s use of the phrase “arising under,” the

 Wood court held that because “the alleged defamation was a

 description of Wood's activities while employed at Prudential

 and was contained in Wood's termination letter, we hold that the

 claim of defamation arose out of his employment and its

 termination. Thus, Wood's defamation claim is arbitrable.” Id.

 (emphasis added). Similarly to Wood, the arbitration agreement

 here is broad and the question of its scope before the court

 concerns claims arising from communications with third parties.

 The defamation alleged in Wood is comparably connected to the

 relationship of the parties covered by the arbitration

 agreement. In Wood, as in the present case, the defendant’s

 communication to a third party concerned defendant’s version of

 plaintiff’s performance under their contractual relationship.

 Moreover, the scope of the arbitration clause in the present

 case is broader, covering disputes not only “arising from” but

 also “connected with” the underlying agreement. A claim

 “connected with” the contract need not “arise from” the

 contract. One cannot escape the conclusion that claims for


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 defamation and tortious interference with contract, economic

 advantage, and prospective economic advantage based upon

 defendant’s assessment of plaintiff’s performance in their

 Purchase Order relationship are connected with or arise from

 that relationship, and are therefore arbitrable.

       Leadertex v. Morganton Dyeing & Finishing Corp., 67 F.3d 20

 (2d Cir. 1995), the only case Plaintiff cites in favor of its

 proposed narrow construction of the Arbitration Clause [Docket

 Item 14 at 14-18], may provide further guidance on the issue.

 Similar to the present case, the parties in Leadertex entered

 into a series of sales contracts which contained arbitration

 clauses which provided “any controversy or claim arising under

 or in relation to” the contract would be subject to arbitration.

 67 F.3d at 23. After a dispute between the parties arose

 concerning defective goods, Leadertex raised a defamation claim

 based on slanderous statements Morganton allegedly made to a

 Leadertex customer. Id. Specifically, Morganton stated that

 Leadertex was: (1) generally dishonest in its business

 practices, (2) incapable of supplying conforming goods to

 manufacturers, (3) in the practice of selling defective goods to

 manufacturers, and (4) guilty of attempting to defraud the

 customer by shipping it defective goods. Id. at 28. In holding

 that the defamation claim was beyond the scope of the

 arbitration agreement, the court found the defamatory statements


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 to be “subjects other than Morganton’s services for Leadertex.”

 Id. at 29. Again, that contrasts to the present case in which

 Holtec’s comments directly concerned Tecnimont’s performance of

 the underlying contracts.

       Sharma v. Oriol, No. 05 Civ. 2727(SAS), 2005 WL 1844710,

 *1-5 (S.D.N.Y. Aug. 2, 2005) added further insight into the

 reasoning of Leadertex. Sharma (the CEO of his company, TTA)

 misrepresented TTA’s profits, thus making the sale of TTA to

 Oriol fraudulent. Id. at *1. At a meeting Oriol made various

 allegedly defamatory statements in connection with Sharma’s

 fraudulent sale of TTA. Id. at *1-2. The purchase agreement that

 Sharma and Oriol entered into was subject to an arbitration

 agreement that Oriol sought to enforce with regards to Sharma’s

 defamation claim. In distinguishing the case from Leadertex, the

 Sharma court noted that “the alleged defamation addressed

 Leadertex's general qualities rather than the specific

 relationship between Leadertex and Morganton.” Id. at *4. In

 contrast, the defamatory statements alleged in Sharma

       refer[red] either explicitly or implicitly to the sale
       of TTA LLC by Sharma and TTA Inc. to defendants
       Patentes Talgo and Talgo America. To varying degrees
       of specificity, each statement asserts that Sharma
       behaved fraudulently in connection with the sale.
       Nothing in the statements extends beyond the way in
       which the sale was entered into. The statements thus
       concern a core issue of the contractual relationship
       between the parties -- specifically, the fairness of
       the purchase price of TTA LLC. Accordingly,
       plaintiffs' claim is arbitrable.


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 Id. at *5 (emphasis added; citations omitted).

       Here, the nature of the extra-contractual communications

 between Defendant and Plaintiff’s client is very similar to the

 notice of the alleged defamatory statements made in Sharma.

 Defendant’s letter to CDEEE concerns a core issue of the

 contractual relationship between Plaintiff and Defendant –

 specifically the delay in the delivery of the steam condensers

 contracted for in the Purchase Order. [Docket Item 1-1.] Unlike

 Leadertex, which Plaintiff relies on, Defendant’s statements

 were not related to Plaintiff’s character, but to the parties’

 contractual obligations. In Defendant’s letter to CDEEE,

 Defendant expressly referred to their “interaction with

 Tecnimont on the supply of the plant’s Surface Condenser, and

 associated myriad of non-payment, contract amendment and change

 order issues.” [Docket Item 1-1 at 2.]

       Here, it is abundantly clear that the present dispute

 “arises under” the Purchase Order. In fact, Defendant Holtec’s

 letter to CDEEE precisely addresses disagreements concerning the

 Purchase Order, namely, “non-payment” and contractual

 amendments. That Holtec addressed its comments to CDEEE (the

 owner of the power plant) and not to the world at large further

 demonstrates that this defamation dispute is one “connected




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 with” the agreement to provide the generators to CDEEE’s power

 plant.

       In observance of the strong federal policy in favor of

 arbitration and in consideration of the comparable disputes

 concerning arbitration in Leadertex and Sharma, this court will

 grant Defendant’s motion to stay this matter pending

 arbitration, as the Court finds the parties agreed to

 arbitration pursuant to a broad arbitration clause that covers

 the claims at issue here.

          B. Duress

       As an alternative ground for its motion to dismiss,

 Defendant cites the Claim Waiver signed by the parties in

 October of 2016 and submits that, on the basis of such

 waiver, the Court should dismiss this action. [Docket Item

 12-1 at 23-24.] While the Court does not reach this

 argument, finding that the Arbitration Clause applies to

 this dispute, the Court briefly notes that Plaintiff argues

 in a footnote that it would “demonstrate that Holtec

 compelled Tecnimont under duress to agree to this amendment

 [i.e., the Claim Waiver] by threatening to withhold

 delivery of the Condensers, which would have exposed

 Tecnimont to substantial damages under the CDEEE contract.”

 [Docket Item 14 at 25.]




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       A party asserting economic duress bears a high evidentiary

 burden. Under New Jersey Law,

       "[a] party alleging economic distress must show that
       he has been the victim of a wrongful or illegal act or
       threat" that "deprived the victim of his unfettered
       will." Continental Bank of Pennsylvania v. Barclay
       Riding Academy, Inc., 93 N.J. 153, 175-76, cert.
       denied, 464 U.S. 994 (1983)(citations omitted).In
       determining whether economic distress has been shown
       in a particular case, "the 'decisive factor' is the
       wrongfulness of the pressure exerted." Id. at
       177. However, 'where there is adequacy of
       consideration, there is generally no
       duress.’" Id. (citations omitted).

 Campbell Soup Co. v. Desatnick, 58 F. Supp. 2d 477, 492 (D.N.J.

 1999).

       While Plaintiff argues that it would be inappropriate

 to dismiss based on the Claim Waiver as it would seek to

 submit extrinsic evidence to show duress, the Court notes

 that Plaintiff does not allege that its initial agreement

 to the Arbitration Clause (as opposed to the Claim Waiver)

 was precipitated by economic duress.

       Accordingly, the Court declines to deny the motion to

 stay pending arbitration on these alternative grounds since

 the duress claimed by Plaintiffs does not relate to the

 formation of the Arbitration Clause. Whether an amendment

 to the underlying contract is enforceable is, of course, a

 matter for the arbitrator.

          C. Other Arguments



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       Defendant asserts several other arguments in support

 of its Motion, arguing that the Complaint: must be

 dismissed pursuant to the Claim Waiver [Docket Item 12-1 at

 23-24]; is precluded by New Jersey’s common interest

 qualified privilege, id. at 24-31; fails to adequately

 plead defamation, id. at 31-33; and fails to adequately

 plead tortious interference, id. at 33-36.

       Plaintiff disputes all of these arguments, arguing

 that: the argument premised on the Claim Waiver is

 premature and not appropriate for disposition before

 discovery has occurred [Docket Item 14 at 23-24]; the

 “common interest privilege does not apply in this case[,]”

 id. at 25-28; the Complaint adequately pleads defamation,

 id. at 18-21, and tortious interference, id. at 21-23.

       Again, because the Court rules that the Arbitration

 Clause covers the claims pled in the Complaint, the Court

 will stay the case pending arbitration, per the parties’

 agreement, and does not reach or decide the above issues

 raised in the briefing.3




 3 As the Court does not rely on the Carroll Declaration or its
 discussion of the law of England and Wales in order to resolve
 this Motion, it need not further discuss, nor resolve, the
 dispute between the parties about the appropriateness of the
 Court’s consideration of the Carroll Declaration.

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    V.     Conclusion

         For the reasons described above, the Court will grant

 Defendant’s Motion in favor of arbitration. The accompanying

 Order will be entered.



 August 13, 2018                            s/ Jerome B. Simandle
 Date                                      JEROME B. SIMANDLE
                                           U.S. District Judge




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